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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

                                                 §
FREDRIC RUSSELL MANCE, JR. et al.,               §
                                                 §
        Plaintiffs,                              §
                                                 §
v.                                               §          Civil Action No. 4:14-cv-539-O
                                                 §
ERIC H. HOLDER, JR. and B. TODD                  §
JONES,                                           §
                                                 §
        Defendants.                              §
                                                 §

                                      FINAL JUDGMENT

        The Court issued its order granting Plaintiffs’ Motion for Summary Judgment. It is therefore

ORDERED, ADJUDGED, and DECREED that Plaintiffs’ Motion for Summary Judgment is

GRANTED. The Court DECLARES that 18 U.S.C. § 922(a)(3), 18 U.S.C. § 922(b)(3), and 27

C.F.R. § 478.99(a) are UNCONSTITUTIONAL, and Defendants are ENJOINED from enforcing

these provisions.

        SO ORDERED on this 11th day of February, 2015.


                                          _____________________________________
                                          Reed O’Connor
                                          UNITED STATES DISTRICT JUDGE
